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 8
 9                         UNITED STATES DISTRICT COURT

10                       SOUTHERN DISTRICT OF CALIFORNIA

11
12   SCOTT SCHUTZA,                          Case No.: '24CV0123 JO MSB
13
                  Plaintiff,                 COMPLAINT FOR:
14
        vs.                                    DENIAL OF CIVIL RIGHTS AND
15                                             ACCESS TO PUBLIC FACILITIES
                                               TO PHYSICALLY DISABLED
16                                             PERSONS IN VIOLATION OF THE
     BUSY BEES LOCKS & KEYS, INC., a AMERICANS WITH DISABILITIES
17   California limited liability company;     ACT OF 1990, (42 U.S.C. §12101, et
                                               seq.) AND THE UNRUH CIVIL
     KOPP FAMILY SANTEE, LLC, a                RIGHTS ACT, (CALIFORNIA CIVIL
18
     California limited liability company; and CODE §51, et seq.)
19   DOES 1-10,
                                               DEMAND FOR JURY TRIAL
20
                  Defendants.
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                                     COMPLAINT - 1
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 1        “[T]he continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on an
 2
          equal basis and to pursue those opportunities for which our free society
 3        is justifiably famous.” 42 U.S.C. §12101(a)(8).
 4
          “It is the policy of this state to encourage and enable individuals with a
 5        disability to participate fully in the social and economic life of the state ...”
 6        California Government Code §19230(a).

 7
           Plaintiff SCOTT SCHUTZA, (hereinafter referred to as “Plaintiff”)
 8
     complains of BUSY BEES LOCKS & KEYS, INC., a California limited liability
 9
     company; KOPP FAMILY SANTEE, LLC, a California limited liability company;
10
     and DOES 1-10, (each, individually a “Defendant” and collectively “Defendants”)
11
     and alleges as follows:
12
                                        I.      PARTIES
13
           1.     Plaintiff SCOTT SCHUTZA is a California resident and a qualified
14
     physically disabled person. He cannot walk due to paraplegia and uses a
15
     wheelchair for mobility. Plaintiff prides himself on his independence and on
16
     empowering other disabled persons to be independent.
17
           2.     Defendants BUSY BEES LOCKS & KEYS, INC., KOPP FAMILY
18
     SANTEE, LLC, and DOES 1-10 are and were the owners, operators, lessors and/or
19
     lessees of the subject business, property, and facility at all times relevant in this
20
     Complaint.
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           3.     Plaintiff does not know the true names of Defendants, their business
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     capacities, their ownership connection to the property and business, or their
23
     relative responsibilities in causing the access violations herein complained of, and
24
     alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
25
     informed and believes that each of the Defendants herein, including DOES 1
26
     through 10, inclusive, is responsible in some capacity for the events herein alleged,
27
     or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
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                                             COMPLAINT - 2
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 1   amend when the true names, capacities, connections, and responsibilities of the
 2   Defendants and Does 1 through 10, inclusive, are ascertained.
 3          4.     Defendants own and owned the property located at 9113 Mission
 4   Gorge Rd. Suite A. Santee, CA 92071 (“Subject Property”) at all relevant times.
 5          5.     Defendants operate and operated a locksmith service doing business
 6   as BUSY BEES LOCKS AND KEYS (“locksmith”), located at the Subject
 7   Property, at all relevant times.
 8          6.     Plaintiff alleges that the Defendants have been and are the owners,
 9   franchisees, lessees, general partners, limited partners, agents, trustees, employees,
10   subsidiaries, partner companies and/or joint ventures of each of the other
11   Defendants, and performed all acts and omissions stated herein within the course
12   and scope of such relationships causing the damages complained of herein.
13                           II.    JURISDICTION AND VENUE
14          7.     This Court has subject matter jurisdiction over this action pursuant to
15   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, U.S.C. §12101, et seq.
17          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising out of the same nucleus of operative facts and arising out of the
19   same transactions, is also brought under California’s Unruh Civil Rights Act,
20   which expressly incorporates the Americans with Disabilities Act.
21          9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
22   and is founded on the fact that the real property which is the subject of this action
23   is located in this district and that Plaintiff’s causes of action arose in this district.
24                                         III.   FACTS
25          10.    Plaintiff uses a wheelchair for mobility.
26          11.    Defendants’ business is open to the public, a place of public
27   accommodation, and a business establishment.
28

                                            COMPLAINT - 3
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 1         12.    Plaintiff went to the locksmith on two occasions. The first visit was on
 2   November 8, 2023. On this date the plaintiff inquired about a new key being made
 3   for his truck. The second visit was on November 13, 2023. On this visit he had two
 4   keys made. The receipt he received for his purchase is shown in the photo below.
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22         13.    Unfortunately, during Plaintiff’s visits, Defendants did not offer
23   persons with disabilities equivalent facilities, privileges, advantages, and
24   accommodations offered to other persons.
25         14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
26   the ability to use and enjoy the goods, services, privileges, advantages, and
27   accommodations offered by Defendants at the Subject Property.
28

                                          COMPLAINT - 4
      Case 3:24-cv-00123-JO-MSB Document 1 Filed 01/18/24 PageID.5 Page 5 of 16




 1         15.    These barriers violate one or more standards of the Americans with
 2   Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
 3   CBC”).
 4         16.    Parking for patrons visiting the Subject Property is among the
 5   facilities, privileges, advantages, and accommodations offered by Defendants.
 6         17.    According to the U.S. Department of Justice, “a public
 7   accommodation’s first priority should be to enable individuals with disabilities to
 8   physically enter its facility. This priority on ‘getting through the door’ recognizes
 9   that providing physical access to a facility from public sidewalks, public
10   transportation, or parking is generally preferable to any alternative arrangements in
11   terms of both business efficiency and the dignity of individuals with disabilities.”
12   ADA Title III Technical Assistance Manual §III-4.4500.
13         18.    When parking is provided, there must be at least one accessible
14   parking space designated and marked for disabled persons. Where more than one
15   parking facility is provided on a site, the number of accessible spaces provided on
16   the site shall be calculated according to the number of spaces required for each
17   parking facility. 2010 ADA §502 et seq.; 2010 ADA §208.2; 2022 CBC 11B-502
18   et seq; 2022 CBC 11B-208.2.
19         19.    However, there is no accessible parking for disabled persons at the
20   Subject Property because there are insufficient accessible parking spaces
21   designated for disabled persons and/or the existing designated space or spaces are
22   significantly noncompliant with the applicable ADA and CBC standards.
23         20.    The parking space and access aisle must be at least 216” in length and
24   clear of obstructions. However, the parking space and/or access aisle have three
25   bollards located within them, making the space and aisle too short and/or
26   obstructed by permanent objects. ADA 2010 §502.2; 2022 CBC 11B-502.2; ADA
27   2010 §502.3; 2022 CBC 11B-502.3; 28 C.F.R. §36.211(a); 2022 CBC 11B-108.
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                                          COMPLAINT - 5
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 1         21.    The access aisle does not say “No Parking,” or the paint is so faded it
 2   cannot be clearly identified. ADA 2010 §502.3.3; 2022 CBC 11B-502.3.3; 28
 3   C.F.R. §36.211(a); 2022 CBC 11B-108.
 4         22.    There is no sign in a conspicuous place at the entrance to the facility,
 5   or immediately adjacent to on-site accessible parking and visible from each
 6   parking space, stating that vehicles parked in designated accessible spaces not
 7   displaying a disabled placard or license plate will be towed. 2022 CBC 11B-502.8.
 8         23.    There is no accessible path of travel from the parking area to the
 9   entrance of the locksmith. The existing path of travel is too narrow as it contains a
10   propane tank dispenser which encroaches on the usable space, reducing it to less
11   than the required 36”. This creates a severe safety hazard for wheelchair users, who
12   risk injuring their hands and arms on one side or falling off the curb on the other.
13   2010 ADA §206; 2010 ADA §302; 2010 ADA §403; 2022 CBC 11B-206; 2022
14   CBC 11B-302; 2022 CBC 11B-403; 28 C.F.R. §36.211(a); 2022 CBC 11B-108.
15         24.    The photos below show one or more of these violations.
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                                         COMPLAINT - 6
      Case 3:24-cv-00123-JO-MSB Document 1 Filed 01/18/24 PageID.7 Page 7 of 16




 1         25.    The barriers existed during Plaintiff’s visit to the Subject Property.
 2   Plaintiff personally encountered these barriers.
 3         26.    These inaccessible conditions and barriers denied Plaintiff full and
 4   equal access and caused him difficulty, discomfort, and embarrassment. Because of
 5   the lack of compliant parking, Plaintiff was placed at greater risk of being blocked
 6   in by other vehicles and unable to get out of his vehicle or get back into it. He was
 7   also at greater risk of being hit by a car while transferring to and from his
 8   wheelchair. Because of the lack of a compliant path of travel, he had difficulty
 9   accessing the entrance to the store and was at greater risk of injuring his hand and
10   arm or falling off the edge of the walkway and suffering serious injury.
11         27.    These barriers denied Plaintiff full and equal access due to his
12   disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
13   and embarrassment which patrons who do not use a wheelchair for mobility do not
14   suffer when they access the Subject Property.
15         28.    Plaintiff intends to return to the Subject Property in the near future.
16   Plaintiff is currently deterred from returning because of the knowledge of the
17   barriers to equal access that relate to Plaintiff’s disabilities which continue to exist
18   at Defendants’ public accommodation facilities.
19         29.    Plaintiff alleges that Defendants knew that the barriers prevented
20   equal access. Plaintiff further alleges that Defendants had actual or constructive
21   knowledge that the architectural barriers prevented equal access, and that the
22   noncompliance with the Americans with Disabilities Act and Title 24 of the
23   California Building Code regarding accessible features was intentional.
24         30.    Defendants have obstructed or failed to maintain, in working and
25   useable conditions, those features necessary to provide ready access to persons
26   with disabilities. “A public accommodation shall maintain in operable working
27   condition those features of facilities and equipment that are required to be readily
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                                           COMPLAINT - 7
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 1   accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
 2   CBC 11B-108.
 3             31.   The State of California Department of General Servicers, Division of
 4   the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:
 5             Features for accessibility must be permanently functional, unobstructed
               and may not be removed. It is not sufficient to provide features such as
 6
               accessible routes, parking, elevators, ramps or signage if those features
 7             are not maintained in a manner that enables individuals with disabilities
               to use them.
 8
 9   DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
10             32.   Defendants have the financial resources to remove these barriers
11   without much expense or difficulty in order to make their property more accessible
12   to their mobility impaired customers. The United States Department of Justice has
13   identified that these types of barriers are readily achievable to remove.
14             33.   To date, Defendants refuse to remove these barriers, in violation of
15   the law, willfully depriving disabled persons including Plaintiff of important civil
16   rights.
17             34.   On information and belief, Plaintiff alleges that the Defendants’
18   failure to remove these barriers was intentional because the barriers are logical and
19   obvious. During all relevant times Defendants had authority, control, and dominion
20   over these conditions and therefore the absence of accessible facilities was not a
21   mishap, but rather an intentional act.
22             35.   The barriers to access are listed above without prejudice to Plaintiff
23   citing additional barriers to equal access by an amended complaint after inspection
24   by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,
25   654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
26   2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
27   All of these barriers to access render the premises inaccessible to physically
28   disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff

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 1   may encounter when he returns to the premises. All public accommodations must
 2   be brought into compliance with all applicable federal and state accessibility
 3   requirements.
 4                              FIRST CAUSE OF ACTION
 5                Violation of the Americans With Disabilities Act of 1990
 6                                (42 U.S.C. §12101, et seq.)
 7                                 (Against All Defendants)
 8         36.    Plaintiff alleges and incorporates by reference, as if fully set forth
 9   again herein, each and every allegation contained in all prior paragraphs of this
10   complaint.
11         37.    More than thirty years ago, the 101st United States Congress found
12   that although “physical or mental disabilities in no way diminish a person’s right to
13   fully participate in all aspects of society, yet many people with physical or mental
14   disabilities have been precluded from doing so because of discrimination…in such
15   critical areas as employment, housing, public accommodations, education,
16   transportation, communication, recreation, institutionalization, health services,
17   voting, and access to public services.” 42 U.S.C. §12101(a).
18         38.    In 1990 Congress also found that “the Nation’s proper goals regarding
19   individuals with disabilities are to assure equality of opportunity, full participation,
20   independent living, and economic self-sufficiency for such individuals,” but that
21   “the continuing existence of unfair and unnecessary discrimination and prejudice
22   denies people with disabilities the opportunity to compete on an equal basis and to
23   pursue those opportunities for which our free society is justifiably famous.” 42
24   U.S.C. §12101(a).
25         39.    In passing the Americans with Disabilities Act of 1990, which was
26   signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
27   “ADA”), Congress stated as its purpose:
28         “It is the purpose of this Act

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 1
           (1) to provide a clear and comprehensive national mandate for the
 2
           elimination of discrimination against individuals with disabilities;
 3
 4         (2) to provide clear, strong, consistent, enforceable standards
           addressing discrimination against individuals with disabilities;
 5
 6         (3) to ensure that the Federal Government plays a central role in
           enforcing the standards established in this Act on behalf of individuals
 7         with disabilities; and
 8
           (4) to invoke the sweep of congressional authority, including the power
 9         to enforce the fourteenth amendment and to regulate commerce, in
10         order to address the major areas of discrimination faced day to-day by
           people with disabilities.”
11
12   42 USC §12101(b).

13         40.    As part of the ADA, Congress passed “Title III – Public
14   Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
15   seq.). Title III of the ADA prohibits discrimination against any person “on the
16   basis of disability in the full and equal enjoyment of the goods, services, facilities,
17   privileges, advantages, or accommodations of any place of public accommodation
18   by any person who owns, leases (or leases to), or operates a place of public
19   accommodation.” 42 U.S.C. §12182(a).
20         41.    The specific prohibitions against discrimination include, inter alia, the
21   following:
22      • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
23        shall be discriminatory to afford an individual or class of individuals,
          on the basis of a disability or disabilities of such individual or class,
24        directly, or through contractual, licensing, or other arrangements, with
25        the opportunity to participate in or benefit from a good, service, facility,
          privilege, advantage, or accommodation that is not equal to that
26        afforded to other individuals.”
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                                          COMPLAINT - 10
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 1      • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
 2        modifications in policies, practices, or procedures when such
          modifications are necessary to afford such goods, services, facilities,
 3        privileges, advantages, or accommodations to individuals with
 4        disabilities...;”

 5      • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
 6        necessary to ensure that no individual with a disability is excluded,
          denied service, segregated, or otherwise treated differently than other
 7        individuals because of the absence of auxiliary aids and services...;”
 8
        • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
 9        barriers, and communication barriers that are structural in nature, in
10        existing facilities... where such removal is readily achievable;”
11
        • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
12        the removal of a barrier under clause (iv) is not readily achievable, a
          failure to make such goods, services, facilities, privileges, advantages,
13
          or accommodations available through alternative methods if such
14        methods are readily achievable.”
15
           42.    Plaintiff is a qualified individual with a disability as defined in the
16
     Rehabilitation Act and in the Americans with Disabilities Act of 1990.
17
           43.    The acts and omissions of Defendants set forth herein were in
18
     violation of Plaintiff’s rights under the ADA and the regulations promulgated
19
     thereunder, 28 C.F.R. Part 36 et seq.
20
           44.    The removal of each of the physical and policy barriers complained of
21
     by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
22
     achievable” under the standards of §12181 and §12182 of the ADA. Removal of
23
     each and every one of the architectural and/or policy barriers complained of herein
24
     was already required under California law. Further, on information and belief,
25
     alterations, structural repairs or additions since January 26, 1993, have also
26
     independently triggered requirements for removal of barriers to access for disabled
27
     persons per §12183 of the ADA. In the event that removal of any barrier is found
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                                         COMPLAINT - 11
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 1   to be “not readily achievable,” Defendants still violated the ADA, per
 2   §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
 3   and accommodations through alternative methods that were “readily achievable.”
 4         45.    On information and belief, as of the date of Plaintiff’s encounter at the
 5   premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 6   physical premises have denied and continue to deny full and equal access to
 7   Plaintiff and to other mobility disabled persons in other respects, which violate
 8   Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
 9   the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
10   enjoyment of the goods, services, facilities, privileges, advantages and
11   accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
12         46.    Defendants’ actions continue to deny Plaintiff’s rights to full and
13   equal access and discriminated and continue to discriminate against him on the
14   basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
15   enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
16   accommodations, in violation of the ADA, 42 U.S.C. §12182.
17         47.    Further, each and every violation of the Americans With Disabilities
18   Act of 1990 also constitutes a separate and distinct violation of California Civil
19   Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
20   damages and injunctive relief pursuant to California law, including but not limited
21   to Civil Code §54.3 and §55.
22                            SECOND CAUSE OF ACTION
23                          Violation of the Unruh Civil Rights Act
24                            (California Civil Code §51, et seq.)
25                                  (Against All Defendants)
26         48.    Plaintiff alleges and incorporates by reference, as if fully set forth
27   again herein, each and every allegation contained in all prior paragraphs of this
28   complaint.

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 1          49.    California Civil Code §51 provides that physically disabled persons
 2   are free and equal citizens of the state, regardless of their medical condition or
 3   disability:
 4          All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
 5
            disability, or medical condition are entitled to full and equal
 6          accommodations, advantages, facilities, privileges, or services in all
            business establishments of every kind whatsoever.
 7
 8   California Civil Code §51(b) (emphasis added).
 9          50.    California Civil Code §51.5 also states, in part: “No business,
10   establishment of any kind whatsoever shall discriminate against…any person in
11   this state on account” of their disability.
12          51.    California Civil Code §51(f) specifically incorporates (by reference)
13   an individual’s rights under the ADA into the Unruh Act.
14          52.    California Civil Code §52 provides that the discrimination by
15   Defendants against Plaintiff on the basis of his disability constitutes a violation of
16   the general antidiscrimination provisions of §51 and §52.
17          53.    Each of Defendants’ discriminatory acts or omissions constitutes a
18   separate and distinct violation of California Civil Code §52, which provides that:
19          Whoever denies, aids or incites a denial, or makes any discrimination
20          or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
            every offense for the actual damages, and any amount that may be
21          determined by a jury, or a court sitting without a jury, up to a maximum
22          of three times the amount of actual damage but in no case less than four
            thousand dollars ($4,000), and any attorney’s fees that may be
23          determined by the court in addition thereto, suffered by any person
24          denied the rights provided in Section 51, 51.5, or 51.6.

25          54.    Any violation of the Americans with Disabilities Act of 1990
26   constitutes a violation of California Civil Code §51(f), thus independently
27   justifying an award of damages and injunctive relief pursuant to California law,
28   including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any

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 1   individual under the Americans with Disabilities Act of 1990 (Public Law 101-
 2   336) shall also constitute a violation of this section.”
 3         55.    The actions and omissions of Defendants as herein alleged constitute a
 4   denial of access to and use of the described public facilities by physically disabled
 5   persons within the meaning of California Civil Code §51 and §52.
 6         56.    The discriminatory denial of equal access to and use of the described
 7   public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
 8         57.    As a proximate result of Defendants’ action and omissions,
 9   Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
10   §52, and are responsible for statutory, compensatory and actual damages to
11   Plaintiff, according to proof.
12                                    PRAYER FOR RELIEF
13          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
14   forth in this Complaint. Plaintiff has suffered and will continue to suffer
15   irreparable injury as a result of the unlawful acts, omissions, policies, and
16   practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
17   he requests. Plaintiff and Defendants have an actual controversy and opposing
18   legal positions as to Defendants’ violations of the laws of the United States and
19   the State of California.
20          The need for relief is critical because the civil rights at issue are paramount
21   under the laws of the United States of America and the State of California.
22          WHEREFORE, Plaintiff prays judgment against Defendants, and each of
23   them, as follows:
24                1.     Issue a preliminary and permanent injunction directing
25         Defendants as current owners, operators, lessors, and/or lessees of the
26         Subject Property and premises to modify the above described property,
27         premises, policies and related facilities to provide full and equal access
28         to all persons, including persons with physical disabilities; and issue a

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 1        preliminary and permanent injunction pursuant to ADA §12188(a) and
 2        state law directing Defendants to provide facilities and services usable
 3        by Plaintiff and similarly situated persons with disabilities, and which
 4        provide full and equal access, as required by law, and to maintain such
 5        accessible facilities once they are provided; to cease any discriminatory
 6        policies; and to train Defendants’ employees and agents how to
 7        recognize disabled persons and accommodate their rights and needs;
 8              2.     Retain jurisdiction over the Defendants until such time as
 9        the Court is satisfied that Defendants’ unlawful policies, practices, acts
10        and omissions, and maintenance of physically inaccessible public
11        facilities and policies as complained of herein no longer occur, and
12        cannot recur;
13              3.     Award to Plaintiff all appropriate damages, including but
14        not limited to actual and statutory damages according to proof;
15              4.     Award to Plaintiff all reasonable attorney fees, litigation
16        expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
17        California Civil Code §52; and
18              5.     Grant such other and further relief as this Court may deem
19        just and proper.
20
21
     DATED: January 18, 2024                       VALENTI LAW APC
22
23                                           By: /s/ Matthew D. Valenti
24                                               Matthew D. Valenti
25                                               Attorney for Plaintiff Scott Schutza

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                                        COMPLAINT - 15
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 1                                   JURY DEMAND
 2         Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3   jury is permitted.
 4
 5
 6
     DATED: January 18, 2024                       VALENTI LAW APC
 7
 8                                           By: /s/ Matthew D. Valenti
 9                                               Matthew D. Valenti
10                                               Attorney for Plaintiff Scott Schutza

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